Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 1 of 14




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 17-CV-22957-SCOLA/TORRES

  GEORGE HARRISON,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

         Defendant.

  ________________________________________/

                             UNITED STATES OF AMERICA’S
                            MOTION FOR SUMMARY JUDGMENT

         Defendant, United States of America (“United States”), pursuant to Federal Rule of Civil

  Procedure 56, moves for case-dispositive summary judgment in its favor.            In this medical

  malpractice case, Plaintiff alleges that Dr. Joseph Mensch (“Dr. Mensch”) injured one of Plaintiff’s

  nerves during shoulder surgery at the Miami VA in 2013. Plaintiff’s case fails and the United

  States warrants summary judgment in its favor.

         First, the record evidence establishes that the court lacks subject matter jurisdiction over

  this case. Sovereign immunity bars suit against the United States except to the extent that it

  consents to be sued. Congress has authorized a limited waiver of sovereign immunity under the

  Federal Tort Claims Act (“FTCA”) for suits based on the “negligent or wrongful act or omission

  of any employee of the Government while acting within the scope of his office or employment.”

  See 28 U.S.C. §1346(b) (emphasis added). The undisputed facts show that Dr. Mensch was a

  University of Miami employee and not an employee of the federal Government when he treated
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 2 of 14



   Plaintiff in 2013. Therefore, there is no jurisdictional basis for this FTCA lawsuit against the

   United States.

          Second, the Court should grant summary judgment in favor of the United States on the

   merits of the case because Plaintiff cannot establish the elements of medical malpractice. To meet

   his burden of proving medical malpractice, Plaintiff must produce evidence from a medical expert

   that establishes: the applicable standard of medical care; that there was a breach of that standard

   of care; and that the breach caused the injury that Plaintiff complains of. Gooding v. Univ. Hosp.

   Bldg., Inc., 445 So.2d 1015, 1018 (Fla. 1984) (elements of medical malpractice claim); Lambert

   v. United States, 198 Fed. App’x 835, 838 (11th Cir. 2006) (expert testimony required to prove

   medical malpractice claim). Plaintiff has failed to produce any expert testimony, report, or

   disclosure on any of these elements. The only expert medical evidence in this case establishes no

   medical malpractice and calls for a judgment in favor of the United States.

  I.      STANDARD OF REVIEW

          Under Rule 56, Federal Rules of Civil Procedure, “[t]he court shall grant summary

   judgment if the movant shows that there is no genuine dispute as to any material fact and the

   movant is entitled to judgment as a matter of law.” See Fed. R. Civ. P. 56(a). “Where the record

   taken as a whole would not lead a rational trier of fact to find for the nonmoving party, there is no

   ‘genuine issue for trial’” and the court may grant the motion for summary judgment. Scott v.

   Harris, 550 U.S. 372, 380 (2007).

   II.    THE COURT LACKS SUBJECT MATTER JURISDICTION UNDER THE FTCA
          BECAUSE DR. MENSCH WAS AN INDEPENDENT CONTRACTOR

          The United States is a sovereign and has immunity from suit unless it expressly waives its

   immunity and consents to be sued. See United States v. Testan, 424 U.S. 392, 399 (1976)

   (explaining that the United States is immune from suit unless it consents to be sued and the terms

                                                    2
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 3 of 14



  of its consent define subject matter jurisdiction). The FTCA waives the United States’ sovereign

  immunity only for the negligent acts of employees of the government acting within the scope of

  their federal employment. See 28 U.S.C. §§1346(b)(1); 2671-2680. The FTCA defines “employee

  of the government” as “officers or employees of any federal agency, members of the military or

  naval forces of the United States. . . . and persons acting on behalf of a federal agency in an official

  capacity, temporarily or permanently in the service of the United States.” See 28 U.S.C. §2671.

  And, in its definition of “Federal agency,” the FTCA excludes any contractor with the United

  States from its immunity waiver. Id.

          Thus, the FTCA specifically keeps the United States’ sovereign immunity for injuries

  resulting from the actions of parties that contract with the federal government or employees of

  those contracting parties. Id.; see U.S. v. Orleans, 425 U.S. 807, 814 (1976); Tisdale v. United

  States, 62 F.3d 1367, 1371 (11th Cir. 1995) (citing 28 U.S.C. §2671). Indeed, the United States

  cannot be liable for (or even sued) for the negligent acts of contractors. See Means v. United

  States, 176 F.3d 1376, 1378 (11th Cir. 1999) (the alleged tortfeasor’s status as an employee of the

  government is the sine qua non of liability under the FTCA).

          Here, the FTCA’s independent contractor exception applies and divests this Court of

  subject matter jurisdiction because Dr. Mensch was an employee of an independent contractor,

  namely the University of Miami, during the time that he treated Plaintiff. Whether one is an

  employee of the United States is a question of federal law. Logue v. United States, 412 U.S. 521

  (1973). Courts determine this by applying the “control test” to ascertain whether the United States

  had the authority “to control the detailed physical performance of the contractor” and whether the

  United States actually supervised the day-to-day operations of the contractor. Orleans, 425 U.S.

  at 814; Logue, 412 U.S. at 528-29. “In applying the control test, the contract and its terms fixing



                                                     3
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 4 of 14



  the relationship of the parties is critical.” Rice ex rel. Castro v. United States, 2004 WL 3410262,

  at *1 (N.D. Fla. Oct. 1, 2004) (citations omitted). Further, “[t]he government’s ability to compel

  compliance with standards, rules, and regulations [is] not important” in this analysis. Del Valle v.

  Sanchez, 170 F.Supp.2d 1254, 1265 (S.D. Fla. 2001) (citing Orleans, 425 U.S. 807).

          Here, the terms of the contract illustrate that Dr. Mensch was an employee of independent

  contractor UM and not a VA employee when he treated the Plaintiff. The contract lists Dr. Mensch

  as one of two physicians that will provide orthopedic surgery services at the VA. See Statement

  of Undisputed Material Facts (ECF No. 44), ¶ 1. The duties of the contract doctors include

  providing medical care, supervising and training residents assigned to the VA by UM, and

  administrative duties such as record-keeping. See ECF No. 42-1, Ex. 1 thereto at pp. 7-9. The

  contract provides that “the contractor shall be responsible for coordinating, evaluating, treatment

  and overall medical management of eligible-veterans enrolled in the clinic and inpatient setting.”

  Id. at pp. 7-8.

          Further, the contract contains key terms that expressly define the relationship between the

  parties as independent contractor/contractee and not employer/employer. These terms are:

              •     “The parties agree that the contractor, its employees, agents and subcontractors
                    shall not be considered VA employees for any purpose.” See ECF No. 44 at ¶ 5.

              •     “The professional services rendered by the Contractor or its health-care providers
                    are rendered in its capacity as an independent contractor. The Government may
                    evaluate the quality of professional and administrative services provided but retains
                    no control over professional aspects of the services rendered, including by example,
                    the Contractor’s or its health-care providers’ professional medical judgment,
                    diagnosis or specific medical treatments.” See ECF No. 44 at ¶ 6.

              •     “The contractor and its health-care providers shall be liable for their liability-
                    producing acts or omissions.” See ECF No. 44 at ¶ 6.

  Additionally, under the contract it is UM’s responsibility to ensure that the contract doctors,

  including Dr. Mensch, were trained, competent to perform medical tasks, and up-to-date on

                                                      4
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 5 of 14



  continuing training education requirements. See ECF No. 44 at ¶ 4. The contract also requires

  UM to provide insurance, including professional liability, general liability, and workers

  compensation insurance, for the contract doctors, including Dr. Mensch. See ECF No. 44 at ¶ 9.

  It is also UM’s duty under the contract to withhold taxes and social security payments from Dr.

  Mensch’s paycheck. See ECF No. 44 at ¶ 11. The contract also states that UM shall invoice the

  VA for surgical services performed under the contract. See ECF No. 44 at ¶ 12.

         Courts have found that terms similar to those in the VA/UM contract demonstrate that a

  doctor is an independent contractor, not a federal employee, for purposes of the FTCA. For

  example, in Dutton v. United States, 621 Fed. App’x 962 (11th Cir. 2015), the Eleventh Circuit

  affirmed summary judgment in favor of the United States where the contract between the VA and

  a radiology group provided that the group was an independent contractor, the group was to provide

  its own workers compensation, insurance, health examinations, income tax withholding, and social

  security payments, and the contract stated that the Government retained no control over the

  professional aspects of the services rendered. Id. at 965; see also MacDonald v. United States, 807

  F.Supp. 775, 780 (M.D. Ga. 1992) (recognizing that the terms of the contract showed that the

  doctor was an independent contractor where the contract expressly provided that the Government

  did not have control over the doctor’s medical judgment).

         Similarly, in Rice v. United States of America, 2004 WL 3410262 (N.D. Fla. Oct. 1, 2004),

  the Court held that a vascular surgeon, Dr. Ozaki, was an independent contractor pursuant to a

  contract between the VA and the University of Florida (“UF”) for surgical services. Id. at *2.

  Like the VA/UM contract, the purpose of the contract in Rice was for UF to supply surgeons to

  the VA to provide medical care to patients and for other clinical, teaching, and administrative




                                                  5
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 6 of 14



  tasks. Id. at *1. Additionally, like the VA/UM contract, the contract in Rice included the following

  terms that the Court found significant in concluding that the doctor was an independent contractor:

             •   The contract stated that the physicians provided by UF to the VA “shall not be
                 considered VA employees for any purpose.” Id. at *1.

             •   UF had full responsibility under the contract for the protection of its personnel to
                 provide worker’s compensation insurance, professional liability insurance, and
                 income tax withholding and social security payments. Id.

             •   UF billed the VA for services provided under the contract by the physician. Id. at
                 *2.

  Further, Dr. Ozaki, like Dr. Mensch, received all of his salary from the university. 1 Id. In reaching

  its conclusion that Dr. Ozaki was an independent contractor, the Court observed that its holding

  “comports with the Circuits examining this issue, which have consistently held that physicians

  either in private practice or associated with an organization under contract to provide medical

  services to facilities operated by the federal government are independent contractors, and not

  employees of the government for FTCA purposes.” Id. (collecting cases); see also Del Valle, 170

  F.Supp. 2d at 1267 (same).

         Thus, as in Dutton and Rice, the language of the UM/VA contract supports that Dr. Mensch

  is an independent contractor. 2 In addition to the plain language of the contract, courts look to the

  performance of the contract in determining the relationship between the parties.




  1
          Dr. Ozaki was later hired by the VA as Chief of Vascular Surgery at which time he began
  receiving his salary from the VA. Rice, 2004 WL 3410262, at *2. Similarly, in the instant case,
  Dr. Mensch was a VA employee until he became a UM employee in the late 1990s, see ECF No.
  39-1 at pp. 36:23-25; 37:1-13.
  2
           The contract in this case is distinguishable from that in Bravo v. United States, 532 F.3d
  1154 (11th Cir. 2008). There, the contract stated that “[t]he contractor OB/GYN physician
  activities shall be subject to day-to-day direction by Navy personnel in a manner comparable to
  the direction over Navy uniformed and civil personnel engaged in comparable work.” Id. at 1160.
  The contract also stated that contract doctors must “comply[] with directions received from Navy
                                                    6
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 7 of 14



          Here, the performance establishes that the VA did not control Dr. Mensch. When Dr.

  Mensch treated patients at the Miami VA, VA personnel did not supervise or control Dr. Mensch’s

  clinical practice. See ECF No. 44 at ¶ 7. In fact, the VA contracting officer representative

  (“COR”) “cannot interfere with the contractor’s management prerogative by ‘supervising’

  contractor employees or otherwise directing their work efforts.” See ECF No. 42-1, Ex. 3 thereto

  at § B(2)(c). Relatedly, the VA did not have authority to fire or discipline Dr. Mensch; instead,

  any concerns regarding contract doctors were relayed to UM to address the issues. See ECF No.

  44 at ¶ 8.

          Moreover, as agreed under the contract, UM, in fact, paid Dr. Mensch, withheld items from

  his paycheck, provided medical malpractice coverage for him, and invoiced the VA for services

  provided by Dr. Mensch and the other contract doctor. See ECF No. 44 at ¶¶ 9-12. That Dr.

  Mensch was an employee of UM is further evidenced by the fact that Plaintiff himself testified at

  deposition that Dr. Mensch was an employee of UM, see ECF No. 40-1 at pp. 46:23-25; 67:23-25,

  and that the informed consents signed by Plaintiff for the surgeries state “contract physician” next

  to Dr. Mensch’s name, see ECF No. 44 at ¶¶ 16, 22. Additionally, Dr. Mensch wore a white coat

  that said “University of Miami” when he practiced at the Miami VA. See ECF No. 44 at ¶ 7.

          To the extent Plaintiff argues that Dr. Mensch was an apparent agent of the United States,

  see ECF No. 1 at ¶ 19, the argument is without merit. The doctrine of apparent agency does not

  constitute a basis to waive the United States’ sovereign immunity under the FTCA. Del Valle, 170

  F.Supp.2d at 1267 n. 16 (“The plaintiffs also argue that the doctors are apparent agents of the

  United States. This argument is without merit because the doctrine of apparent agency is not a




  hospital professional personnel in the course of patient care activities.” Id. No similar language
  is found in the contract between the VA and UM.
                                                   7
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 8 of 14



  proper basis for a waiver of sovereign immunity under the FTCA”); Spitzer v. United States, 1988

  WL 363944, at *6 (S.D. Ga. Feb. 16, 1988) (holding that “plaintiff may not advance the theory of

  apparent agency in this FTCA case”).

          Thus, based on the plain language of the contract as well as the parties’ performance, Dr.

  Mensch was an employee of independent contractor UM during the time he provided medical care

  and treatment to the Plaintiff. As such, the independent contractor exception to the Government’s

  waiver of sovereign immunity applies and the Court lacks subject matter jurisdiction over this

  case.

  III.    PLAINTIFF CANNOT ESTABLISH MEDICAL MALPRACTICE.

          In the alternative, the court should grant summary judgment because Plaintiff cannot

  establish the elements of his medical malpractice claim. The Supreme Court has held that “Rule

  56(c) mandates the entry of summary judgment, after adequate time for discovery and upon

  motion, against a party who fails to establish the existence of an element essential to that party’s

  case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477

  U.S. 317 (1986).

          Title 28 U.S.C. § 1346(b) provides for the liability of the United States “under

  circumstances where the United States, if a private person, would be liable to the claimant in

  accordance with the law of the place where the act or omission occurred.” In analyzing an FTCA

  claim, the court applies the law of the state where the alleged tort occurred. Stone v. United States,

  373 F.3d 1129, 1130 (11th Cir.2004).

          To prevail in a medical malpractice action in Florida, a plaintiff must (1) establish the

  standard of care owed, (2) produce evidence that the defendant breached the applicable standard

  of care, and (3) demonstrate that said breach was the proximate cause of the alleged injury.



                                                    8
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 9 of 14



  Gooding v. Univ. Hosp. Bldg., Inc., 445 So.2d 1015, 1018 (Fla. 1984); see also Turner ex. Rel.

  Turner v. United States, 514 F.3d 1194, 1203 (11th Cir. 2008). Under Florida law, expert

  testimony is required to establish these elements. See Lambert v. United States, 198 Fed. App’x

  835, 838 (11th Cir. 2006) (finding that the medical negligence claim failed because plaintiff had

  not submitted “any medical testimony or expert testimony to support his claims and there was no

  evidence of causation”); Ponders v. United States, 2014 WL 2612315, at *3 (S.D. Fla. Jun. 11,

  2014) (recognizing that the plaintiff “must produce medical or expert opinion testimony sufficient

  to establish that the alleged negligence of the United States caused plaintiff’s alleged injury”).

         Plaintiff’s claim is that Dr. Mensch breached the standard of care during one of the 2013

  left shoulder surgeries and that the breach caused injury to a nerve in his shoulder (the axillary

  nerve). Plaintiff has no expert testimony as to standard of care, breach, or causation. In layman’s

  terms, no expert has identified what it is that Dr. Mensch did wrong during either surgery or how

  anything Dr. Mensch did wrong caused an injury to Plaintiff.

         Because Florida law requires expert testimony to establish standard of care, breach, and

  causation in medical negligence cases, Plaintiff cannot establish the essential elements of his

  medical negligence claim.

         With respect to standard of care, Florida Statute § 766.102(1) provides:

            In any action for recovery of damages based on the . . . personal injury of any
           person in which it is alleged that such . . . injury resulted from the negligence of
           a health care provider . . ., the claimant shall have the burden of proving by the
           greater weight of evidence that the alleged actions of the health care provider
           represented a breach of the prevailing professional standard of care for that
           health care provider. The prevailing professional standard of care for a given
           health care provider shall be that level of care, skill, and treatment which, in light
           of all relevant surrounding circumstances, is recognized as acceptable and
           appropriate by reasonably prudent similar health care providers.




                                                     9
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 10 of 14



   Fla. Stat. § 766.102(1). Florida law also states that “[a] person may not give expert testimony

   concerning the prevailing professional standard of care unless the person is a health care provider

   who holds an active and valid license and conducts a complete review of the pertinent medical

   records” among other criteria. See Fla. Stat. § 766.102(5). Accordingly, the standard of care in

   medical malpractice cases under Florida law is determined through expert testimony.              See

   Lambert, 198 Fed. Appx. at 839 (affirming dismissal of a medical malpractice claim under the

   FTCA where plaintiff submitted only “his own conclusory allegations”) (citing Pate v. Threlkel,

   661 So. 2d 278, 281 (F1a. 1995)); Torres v. Sullivan, 903 So. 2d 1064, 1068 (F1a. 2d DCA 2005)).

           Also, to establish proximate cause “the plaintiff must show that what was done or failed to

   be done probably would have affected the outcome.” Gooding, 445 So.2d at 1020. “A mere

   possibility of . . . causation is not enough; and when the matter remains one of pure speculation or

   conjecture . . . it becomes the duty of the court to direct a verdict for the defendant.” Id. at 1018

   (citation omitted). That Plaintiff, as he alleges in his Complaint, was diagnosed with a partial

   axillary neuropathy over three (3) years after his surgeries at the VA does not establish that Dr.

   Mensch breached the standard of care or caused that injury. It certainly does not meet Plaintiff’s

   expert evidence burden on these elements. The plain language of the Florida medical malpractice

   statute says that “[t]he existence of a medical injury does not create any inference or presumption

   of negligence against a health care provider, and the claimant must maintain the burden of proving

   that an injury was proximately caused by a breach of the prevailing standard of care by the health

   care provider”). See Fla. Stat. § 766.102(3)(b); see also Ponders, 2014 WL 2612315, at *3

   (recognizing that the fact that the decedent suffered a cardiac arrhythmia that led to his death does

   not itself establish a cause of action) (citing Fla. Stat. § 766.102(3)(b)).




                                                     10
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 11 of 14



             Plaintiff has no expert witness to testify to standard of care, breach, or causation with

   respect to Dr. Mensch’s treatment of the Plaintiff. By contrast, the United States’ expert orthopedic

   surgeon Dr. Sinnreich examined Plaintiff, reviewed his medical records, and produced a report

   stating that Dr. Mensch’s treatment of Plaintiff, including the surgeries, was appropriate and did

   not breach the standard of care. See ECF No. 43-13 at p. 4. Dr. Sinnreich stated that a reverse

   shoulder operation is not a standard total shoulder replacement and is performed in salvage

   situations. Id. Axillary nerve damage is a known complication of the procedure. Id. Dr. Mensch

   detailed in his informed consent and clinical notes that patients with this type of condition have a

   higher likelihood of nerve damage than with the average surgery. Id. Dr. Sinnreich also opined

   that given the Plaintiff’s “distorted anatomy and muscle damage from his fracture and prior surgery

   [before the surgeries at the VA]” as well as an MRI and CT scan that pre-dated the surgeries at the

   VA, that there was some axillary nerve dysfunction prior to the Plaintiff’s first surgery at the VA

   in February 2013. Id.

             Because Plaintiff has no expert witness to testify as to standard of care, breach, and

   causation, there is no one to refute Dr. Sinnreich’s opinion or the testimony of Dr. Mensch on these

   issues.    The only expert medical evidence in this case establishes no medical malpractice,

   warranting summary judgment in the Government’s favor.

             To the extent Plaintiff argues that his “Notice of Expert Witness Disclosure” satisfies the

   expert testimony requirement, this argument should be rejected. See ECF No. 43-14. The

   disclosure is plainly insufficient for the purpose of identifying expert testimony to establish

   medical malpractice in Florida because it does not state that any of the doctors disclosed will testify




                                                     11
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 12 of 14



   concerning the standard of care or breach thereof. 3 See id. Further, Plaintiff has not produced any

   expert reports, as required for treating doctors to testify to opinion matters arising outside their

   treatment of the plaintiff. See ECF No. 16. Moreover, the doctors identified in Plaintiff’s Notice

   that have testified at deposition (Drs. Locatelli, Pitcher, and Wodicka), have not opined on standard

   of care, breach, or causation in a manner that is favorable to the Plaintiff.

          Thus, summary judgment should be granted in favor of the United States because Plaintiff

   cannot establish the elements of medical negligence. See Lambert, 198 Fed. App’x at 838; see

   also Rushing v. United States, 288 Fed. App’x 616, 620 (11th Cir. 2008) (affirming grant of

   summary judgment in favor of the United States where plaintiff did not prove his medical

   malpractice claim through the use of expert testimony); Ponders, 2014 WL 2612315, at *4 (same);

   Kimball v. United States, 2005 WL 1320126, at *3 (M.D. Fla. Jun. 1, 2005) (granting the United

   States’ motion for summary judgment on the plaintiff’s FTCA medical malpractice claims where

   the plaintiff failed to provide an affidavit from a medical practitioner that established the standard

   of care in the community and that defendant breached that standard); Hairston v. Negron, 2013

   WL 12089783, at **9-*10 (M.D. Fla. Jan. 8, 2013) (granting summary judgment in favor of the

   defendants where the plaintiff did not provide expert testimony that the defendants breached the

   standard of care and that plaintiff suffered damage to his health as a result of the breach); Luckett

   v. United States, 2009 WL 1856417, at *5 (E.D. Mich. June 29, 2009) (“Plaintiff has not submitted

   any medical opinion evidence to support his claim . . . . motion for summary judgment could be

   granted on this ground alone.”).



   3
           The United States will file a contemporaneous Motion to Exclude the Opinions of
   Plaintiff’s Expert Witnesses because the Notice was served after the June 25, 2018 deadline set
   forth in the Scheduling Order and does not comply with the Scheduling Order requirement for
   expert reports.

                                                     12
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 13 of 14



                                            CONCLUSION

          For the reasons set forth above, the United States respectfully requests that the Court grant

   summary judgment in its favor and against Plaintiff.

                                                          Respectfully submitted,

                                                          BENJAMIN G. GREENBERG
                                                          UNITED STATES ATTORNEY

                                                 By:      s/Alicia H. Welch
                                                          ALICIA H. WELCH
                                                          Assistant U.S. Attorney
                                                          Florida Bar No. 100431
                                                          Email: Alicia.Welch@usdoj.gov
                                                          99 N.E. 4th Street, Suite 300
                                                          Miami, Florida 33132
                                                          Tel: (305) 961-9370
                                                          Fax: (305) 530-7139

                                                          s/ Marlene Rodriguez
                                                          MARLENE RODRIGUEZ
                                                          Assistant U.S Attorney
                                                          Florida Bar No. 120057
                                                          Email: marlene.rodriguez@usdoj.gov
                                                          99 N.E. 4th Street, Suite 300
                                                          Miami, Florida 33132
                                                          Tel: (305) 961-9206
                                                          Fax: (305) 530-7139

                                                          Counsel for Defendant


                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 27, 2018, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

   on this day on all counsel of record identified on the Service List below via transmission of Notices

   of Electronic Filing generated by CM/ECF.

                                                 /s/Alicia H. Welch
                                                 Alicia H. Welch, AUSA

                                                    13
Case 1:17-cv-22957-RNS Document 45 Entered on FLSD Docket 07/27/2018 Page 14 of 14




                                       SERVICE LIST

   Lee Friedland, Esq.
   FRIEDLAND & ASSOCIATES P.A.
   Attorneys for Plaintiff
   707 NE 3rd Avenue, Suite 201
   Ft. Lauderdale, Florida 33304
   Email: lee@yourfightourbattle.com
   Tel: (954) 321-8810
   Fax: (954) 321-8995

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